                         Case 3:16-bk-03913-JAF                 Doc 29       Filed 01/07/18          Page 1 of 3
                                               United States Bankruptcy Court
                                                Middle District of Florida
In re:                                                                                                     Case No. 16-03913-JAF
Lilly Josephine Real                                                                                       Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 113A-3                  User: baldws                       Page 1 of 1                          Date Rcvd: Jan 05, 2018
                                      Form ID: Dodefmao                  Total Noticed: 2


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jan 07, 2018.
db            #+Lilly Josephine Real,   10023 Belle Rive Blvd. Apt 1303,   Jacksonville, FL 32256-9580
cr             +Frank Polo,   1475 SW 8th St,   Apt 411,   Miami, Fl 33135-3891

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

              ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jan 07, 2018                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on January 5, 2018 at the address(es) listed below:
              Alexander G. Smith    alex@agsmithtrustee.com, FL52@ecfcbis.com
              Collette B Cunningham    on behalf of Defendant   United States Of America
               Collette.Cunningham@usdoj.gov,
               dajana.mihaljevic@usdoj.gov;dee.jackson@usdoj.gov;Chantal.sabino@usdoj.gov
              Edward P Jackson   on behalf of Plaintiff Lilly Josephine Real edward@edwardpjackson.com,
               traci@edwardpjackson.com,linda@edwardpjackson.com,jacksonpacer@gmail.com,
               christina@edwardpjackson.com;p.er70969@notify.bestcase.com
              Edward P Jackson   on behalf of Debtor Lilly Josephine Real edward@edwardpjackson.com,
               traci@edwardpjackson.com,linda@edwardpjackson.com,jacksonpacer@gmail.com,
               christina@edwardpjackson.com;p.er70969@notify.bestcase.com
              United States Trustee - JAX 13/7    USTP.Region21.OR.ECF@usdoj.gov
                                                                                            TOTAL: 5
                Case 3:16-bk-03913-JAF                  Doc 29       Filed 01/07/18   Page 2 of 3
[Dodefmao] [District Order Deficient Motion, Application or Objection]




                                            ORDERED.
Dated: January 5, 2018




                                    UNITED STATES BANKRUPTCY COURT
                                       MIDDLE DISTRICT OF FLORIDA
                                         JACKSONVILLE DIVISION
                                            www.flmb.uscourts.gov



In re:                                                                      Case No. 3:16−bk−03913−JAF
                                                                            Chapter 7
Lilly Josephine Real
fka Lilliana Maria Real



________Debtor*________/



                          ORDER ABATING MOTION FOR SUMMARY JUDGMENT

    THIS CASE came on for consideration, without hearing, of the Motion for Summary Judgment by Creditor
Frank E. Polo , Doc. # 25 . After a review of the motion , the Court determines that the motion is deficient as
follows:

             The motion does not include an original or electronic signature of the movant as required
         by Fed. R. Bankr P. 9011.

            The motion does not include a signed and dated proof of service as required by Local
         Rule 9013−1.

             The prescribed filing fee of $ , as required by the Bankruptcy Court Schedule issued in
         accordance with 28 U.S.C § 1930 was not paid.

             The negative notice legend is not fully displayed on the first page as prescribed by Local
         Rule 2002−1 or the language used in the negative notice legend does not conform to the
         approved negative notice legend language as provided in Local Rule 2002−4.

              The motion does not specifically describe the property, including the legal description if
         real property, or VIN if vehicle.

             The Motion for Referral to Mortgage Modification Mediation does not include a complete
         property address.
               Case 3:16-bk-03913-JAF              Doc 29      Filed 01/07/18        Page 3 of 3

            The Motion for Referral to Mortgage Modification Mediation does not include the last
        four digits of the mortgage loan number.

             The Motion for Referral to Mortgage Modification Mediation does not include the name
        of the mortgage creditor.

            The reaffirmation agreement does not include a signature of both the Debtor and Creditor.

            The Chapter 11 Fee Application does not include the Chapter 11 Fee Application
        Summary required by Local Rule 2016−1(c)(2)(i) or the summary is not placed within the
        application in the location required by Local Rule 2016−1(c)(2)(i).

   Accordingly it is

   ORDERED:

   Consideration of the motion is abated until the deficiency is corrected. No additional filing fee will be
assessed for the filing of any amended motion filed for the purposes of correcting the noted deficiency.



The Clerk's Office is directed to serve a copy of this order on interested parties.
*All references to "Debtor" shall include and refer to both of the debtors in a case filed jointly by two
individuals.
